                Case:
ILND 450 (Rev. 10/13)     1:18-cv-01923
                      Judgment in a Civil Action   Document #: 16 Filed: 05/14/18 Page 1 of 1 PageID #:45

                                        IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE
                                           NORTHERN DISTRICT OF ILLINOIS

Ricardo Onoroto,

Plaintiff(s),
                                                                   Case No. 18 CV 1923
v.                                                                 Judge Blakey

State Collection Service, Inc.,

Defendant(s).

                                                    JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                   in favor of plaintiff(s) Ricardo Onoroto
                   and against defendant(s) State Collection Service, Inc.
                   in the amount of $1001.00 ,

                             which          includes       pre–judgment interest.
                                            does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Cost and attorney’s fees to be decided by the Court upon motion.


                   in favor of defendant(s)
                   and against plaintiff(s)
.
         Defendant(s) shall recover costs from plaintiff(s).


                   other:

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge John Robert Blakey.



Date: 5/14/2018                                                 Thomas G. Bruton, Clerk of Court

                                                                G. Lewis , Deputy Clerk
